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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HAMANN GmbH,

       Plaintiff,                                         Case No.: 1:19-cv-04876

v.                                                        Judge Robert W. Gettlemen

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge M. David Weisman
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.



                                  NOTICE OF DISMISSAL


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) on Schedule A:

                     Def No.                                       Def. Name

                      105                                          Auto Parts

                       17                                          Panda Tech

                       13                                           AAAUP

                       14                                            BBBUP
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DATED: September 17, 2019                                  Respectfully submitted,




                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt (Bar No. 6207971)
                                                   Keith Vogt Ltd.
                                                   111 W. Jackson Blvd., Suite 1700
                                                   Chicago, Illinois 60604
                                                   Telephone: 312-675-6079
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 17, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filings to all
registered attorneys of record.


                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.
